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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530



                                                      June 9, 2021

Dwight E. Crowley, Esq.
Law Office of Dwight E. Crowley
1300 I Street NW, Suite 400E
Washington, D.C. 20005
Via Email To: vadclawyer@gmail.com


               Re:     United States v. Diante Arik Wiley, 21-CR-300 (ABJ)
                       Initial Discovery Production

Dear Mr. Crowley:

        As you are aware, your client, Diante Wiley, is under indictment in the United States
District Court for the District of Columbia. Pursuant to your oral request for discovery, the
United States hereby provides the following and requests reciprocal discovery.

I.     Defendant’s Statements – Federal Rule of Criminal Procedure 16(a)(1)(A)-(C)

        The United States is unaware of any statements by your client, other than those included
in the electronic evidence that was provided (if any). The United States notes that you have
already been provided with a video recording of your client’s post-arrest interview.

II.    Defendant’s Prior Criminal Record – Federal Rule of Criminal Procedure 16(a)(1)(D)

        The United States is aware that your client has prior criminal convictions, as reflected in
the Pretrial Services Agency’s report in this case.

III.   Documents and Tangible Objects – Federal Rule of Criminal Procedure 16(a)(1)(E)

       The United States has provided you with electronic evidence via the United States
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Attorneys’ File Exchange (“USAFX”) Network. Specifically, this evidence includes the
following:

       a. Investigative Reports, with attachments.
       b. Grand Jury subpoenas issued during the investigation.
       c. Search Warrants obtained during the investigation.
       d. Information provided pursuant to Grand Jury subpoena.
       e. Information seized pursuant to Search Warrants.
       f. Photographs taken during your client’s arrest on April 9, 2021.
       g. Photographs taken during the execution of Search Warrants on four premises and one
          automobile on April 9, 2021.
       h. Digital extractions from a cellular telephone seized from your client on April 9, 2021.

        Additionally, the United States is in possession of certain physical evidence which cannot
be disclosed, but which may be inspected by you. If you would like to schedule a time to inspect
any such evidence, please let me know.




IV.    Reports of Examinations and Tests – Federal Rule of Criminal Procedure 16(a)(1)(F)

       The United States is not currently in possession of any reports of examinations or tests in
this matter, other than those included in the electronic evidence that was provided (if any).

V.     Expert Witnesses – Federal Rule of Criminal Procedure 16(a)(1)(G)

       The United States has not yet identified the need to retain any expert witnesses. If this
case proceeds to trial, the United States will provide timely notice of any expert witnesses that it
intends to call during its case-in-chief.

VI.    Brady/Giglio Materials

        The United States has provided discovery of all exculpatory and impeaching material
under Brady/Giglio. The United States is unaware of any Brady/Giglio material other than what
has already been produced, but will provide timely disclosure if any such material comes to light.

VII.   Witness Statements

        At this time, the United States is not aware of any statements by civilian witnesses, other
than the cooperating witness, except those included in the electronic evidence that was provided,
if any.

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VIII.   Continuing Obligations

      The United States is aware of its continuing obligations pursuant to Federal Rule of
Criminal Procedure 16(c) and will forward any supplemental discovery to you as soon as it
becomes available to the United States.

IX.     Request for Reciprocal Discovery

        The United States hereby requests reciprocal discovery under Federal Rule of Criminal
Procedure 16(b). Specifically, we request that you allow inspection and copying of: (1) any
books, papers, documents, data, photographs, tangible objects, buildings or places, or copies or
portions of any of these items that are in your possession, custody, or control and which the
defense intends to use in its case-in-chief at trial; and (2) any results or reports of any physical or
mental examination and of any scientific test or experiment that is in your possession or control
and which the defense intends to use in its case-in-chief at trial or which was prepared by a
witness whom you intends to call at trial. We further request that you disclose a written summary
of testimony you intend to use under Federal Rules of Evidence 702, 703 or 705 as evidence at
trial.

       Pursuant to Fed. R. Crim. P. 26.2, the Government also requests that you disclose prior
statements of witnesses Defendant will call to testify.

X.      Acceptance of Responsibility

        If your client wishes to accept responsibility and negotiate a plea agreement in this case,
please contact me at your earliest convenience. Should your client be separately willing to
participate in a proffer regarding the facts of his case, please contact me so that I can arrange a
meeting. Any such meeting would be conducted pursuant to standard proffer protection.

       Please understand that, should you elect to file substantive motions in this matter, the
United States will oppose the one-level Guidelines reduction pursuant to USSG § 3E1.1(b), and
may elect to discontinue plea negotiations altogether.

                                               Sincerely yours,

                                               CHANNING D. PHILLIPS
                                               ACTING UNITED STATES ATTORNEY



                                       BY:      ___________________________
                                                James B. Nelson
                                                Assistant United States Attorney


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